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1    DANIEL J. BRODERICK
     Federal Defender
2    DENNIS S. WAKS, BAR #142581
     Supervising Assistant Federal Defenders
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
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6

7                   IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )         2:07-cr-0201-FCD
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )         STIPULATION AND ORDER TO
                                   )         VACATE JURY TRIAL AND SET FOR A
13   ROBERT ALLEN BOHANNA and      )         CHANGE OF PLEA HEARING
     NORMAN GRESHAM III,           )
14                                 )         DATE: February 4, 2008
                    Defendant.     )         Time: 10:00 a.m.
15   ______________________________)         Judge: Frank C. Damrell Jr.
16

17
          Defendant ROBERT BOHANNA, by and through his counsel, DENNIS
18
     S. WAKS, Supervising Assistant Federal Defender, defendant NORMAN
19
     GRESHAM III, by and through his counsel, CHRISTOPHER HAYDN-MYER,
20
     and the United States Government, by and through its counsel,
21
     WILLIAM S. WONG, Assistant United States Attorney, hereby
22
     stipulate that the jury trial set for January 23, 2008 be vacated
23
     and set a change of plea hearing on Monday, February 4, 2008 at
24
     10:00 a.m. for both defendants.
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          This continuance is being requested because defense counsel
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     require additional time to negotiate plea agreements, to continue
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     to review discovery, discuss the case with the government, and
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1    pursue investigation.
2         The parties submit that the ends of justice are served by
3    the Court excluding such time through February 4, 2008, so that
4    they may have reasonable time necessary for effective
5    preparation, taking into account the exercise of due diligence.
6    18 U.S.C. § 3161(h)(8)(B)(iv) (Local T4).        In particular, the
7    time is required so that the parties can conduct further
8    investigation and negotiate a proposed disposition.
9

10 DATE: January 15, 2008                    Respectfully Submitted,
11                                           McGREGOR W. SCOTT
                                             United States Attorney
12

13                                            /s/ Dennis S. Waks for
                                             WILLIAM S. WONG
14                                           Assistant U.S. Attorney
15

16 DATED: January 15, 2008                   /s/ Dennis S. Waks
                                             Supervising Assist. Fed.
17                                           Defender
                                             For ROBERT BOHANNA
18

19 DATED: January 15, 2008                   /s/ Christopher Haydn-Myer
                                             CHRISTOPHER HAYDN-MYER
20                                           Attorney for
                                             NORMAN GRESHAM, III
21

22        IT IS SO ORDERED.
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     Dated: January 18, 2008
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                                   _______________________________________
26                                 FRANK C. DAMRELL, JR.
                                   UNITED STATES DISTRICT JUDGE
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